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 1   [Submitting counsel appear on additional pages]
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 3                                UNITED STATES DISTRICT COURT

 4                               NORTHERN DISTRICT OF CALIFORNIA

 5                                      OAKLAND DIVISION

 6   Christopher Corcoran, et al.,                     Case No.: 3:15-cv-03504-YGR

 7                 Plaintiffs,

 8         v.                                          CLASS ACTION

 9   CVS Pharmacy, Inc.
                                                       STIPULATION OF VOLUNTARY
10                                                     DISMISSAL WITHOUT PREJUDICE
                   Defendant.
11

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13          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiffs

14   and defendant CVS Pharmacy, Inc., by and through their respective counsel, hereby

15   stipulate to the voluntary dismissal without prejudice of plaintiffs Zulema Avis, Gilbert

16   Brown, Carolyn Caine, Christopher Corcoran, Vincent Gargiulo, Amanda Gilbert,

17   Zachary Hagert, Toni Odorisio, Onnolee Samuelson, and Walter Wulff (collectively

18   “Former Named Plaintiffs”) in the above-captioned matter.             As conditions of this

19   stipulation, (1) Former Named Plaintiffs reserve the right to proceed in this matter as

20   absent class members; (2) CVS Pharmacy, Inc. reserves the right to argue that Former

21   Plaintiffs do not qualify as a member of any class that may be certified in this matter;

22   and (3) Former Named Plaintiffs shall not bring any new action against CVS Pharmacy,

23   Inc. or its affiliates concerning the subject matter of the above-captioned matter. Each

24   party is to bear its own costs.

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     Dated: September 20, 2019                 Respectfully submitted,
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                                               /s/ Elizabeth C. Pritzker
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                                              ATTESTATION
 9
            I, Elizabeth C. Pritzker, am the ECF user whose ID and password are being used to
10
     file this document. In compliance with Local Rule 5-1(i)(3), I hereby attest that all other
11
     signatories listed have concurred in this filing.
12

13   Dated: September 20, 2019
14                                              __/s/ Elizabeth C. Pritzker___
                                                    Elizabeth C. Pritzker
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16                                                  Counsel for Plaintiffs.

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                                    -3-          Case No.: 3:15-cv-03504-YGR
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